             IN THE UNITED STATES DISTRICT COURT FOR THE
                  MIDDLE DISTRICT OF NORTH CAROLINA


United States of America,
                                             No. 12-cv-1349
                      Plaintiff;
        v.                                   UNITED STATES’ MOTION FOR
                                             SUMMARY JUDGMENT
Terry Johnson, in his official capacity as
Alamance County Sheriff,
                      Defendant.




                          Exhibit 2




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